           EXHIBIT 5

Case 5:20-cv-00354-BO Document 35-5 Filed 09/02/21 Page 1 of 2
From:            Daniel Zemel
To:              David Grassi
Cc:              Chad Diamond; Nicholas Linker; Chad Echols; Salley Odom
Subject:         Re: Hallager v ARS Discovery Responses
Date:            Friday, August 20, 2021 3:41:59 PM
Attachments:     image001.png


Sorry David.

Concerning settlement and mediation, Plaintiff demands                            . Did you and Steve
agree on a mediator? I will see if this proposed date works for my client.

On Fri, Aug 20, 2021 at 3:40 PM David Grassi <David.Grassi@theecholsfirm.com> wrote:

  Daniel,



  Since I have not heard back from you regarding anything in my email below, and since the
  discovery window is quickly closing, we had no choice but to go ahead and set your client’s
  deposition date. Please see the attached notice of deposition for your client, along with a cover
  letter serving same. I will also be sending a letter to the mediator shortly, since our deadline to
  mediate is also four weeks out.



  As for deposition dates of my clients, they have indicated they have some availability during the
  first two full weeks of September. They cannot determine the exact availability without a topic
  list, since the designee would likely vary depending on the topics. Please forward that when you
  get a chance and we can get that date nailed down.



  Let me know if you have any questions.



  Thank you,



  David A. Grassi

  Attorney

  The Echols Firm, llc

  224 Oakland Ave. (29730)

  P.O. Box 12645

  Rock Hill, South Carolina 29731

        Case 5:20-cv-00354-BO Document 35-5 Filed 09/02/21 Page 2 of 2
